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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10   PATRICIA WARD KELLY,                                  Case No. CV16-2960 PA (GJSx)
11                 Plaintiff,                              JUDGMENT
12          v.
13   UNIVERSITY PRESS OF MISSISSIPPI, et
     al.,
14
                   Defendant.
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17          Pursuant to the Court’s August 16 Minute Order granting the Motion to Dismiss filed

18   by Defendant Kelli Marshall and joined in by Defendant University Press of Mississippi,

19          IT IS HEREBY ORDERED ADJUDGED AND DECREED that defendants shall

20   have judgment in their favor;

21          IT IS FURTHER ORDERED, ADJUDGED AND DECREED that this action is

22   dismissed without prejudice.

23          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED, that Plaintiff take

24   nothing and that Defendants shall have their costs of suit.

25   DATED: August 17, 2016

26                                                    ___________________________________
                                                                 Percy Anderson
27                                                      UNITED STATES DISTRICT JUDGE
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